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 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   MARY L. GRAD
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CR. No. 2:08-CR-212-LKK
                                           )
12                      Plaintiff,         )   STIPULATION AND ORDER
                                           )   CONTINUING STATUS CONFERENCE
13   v.                                    )   DATE
                                           )
14   JUSTIN DANIEL WITT,                   )
                                           )
15                      Defendant.         )
                                           )
16                                         )
17
18        It is hereby stipulated between the United States, through its
19   undersigned counsel Assistant U.S. Attorney Mary L. Grad and the
20   defendant Justin Daniel Witt, through his undersigned counsel, that
21   the status conference presently set for April 24, 2009 by continued
22   to May 5, 2009 at 9:15 a.m., and placed on the court’s calendar for
23   Change of Plea for that date.
24        Counsel for defendant is not available on April 24, 2009, and
25   also needs time to review the plea agreement with the defendant.         The
26   parties further stipulate that the interests of justice served by
27   granting this continuance outweigh the best interests of the public
28   and the defendant in a speedy trial.       18 U.S.C. § 3161 (h)(8)(B)(iv)

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 1   (local code T-4) and time, therefore, will be excluded from April 24,
 2   2009 through May 5, 2009.
 3
                                         LAWRENCE G. BROWN
 4                                       Acting United States Attorney
 5
     Date:    April 20, 2009              /s/ Mary L. Grad
 6                                       By: MARY L. GRAD
                                         Assistant United States Attorney
 7
 8
 9                                       /s/ Ronald Peters
                                         Counsel for Justin Daniel Witt
10
11
12   SO ORDERED.
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14   Date: April 21, 2009
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